MIEDCase      2:17-cv-12359-BAF-DRG
     (Rev. 8/07) Notice of Correction             ECF No. 20 filed 11/01/18                PageID.208         Page 1 of 1

                                            UNITED STATES DISTRICT COURT
                                            EASTERN DISTRICT OF MICHIGAN

HALEE CAMPBELL,


                   Plaintiff(s),                                           Case No. 17-12639

v.                                                                         Judge Bernard A. Friedman

WASHTENAW COUNTY, et al.,                                                  Magistrate Judge Elizabeth A. Stafford


                   Defendant(s).
                                                          /

                                                  NOTICE OF CORRECTION

         Docket entry number       20   , filed       11/1/2018            , has been modified. The explanation for the correction

is stated below.

          ✔    The docket entry was made on the wrong case.
               The corresponding document image was missing or incomplete.
               The wrong document image was associated.
               The wrong judicial officer was listed on the case docket.
               The filer information was inaccurate or omitted from the docket text.
               The judicial officer information was inaccurate or omitted from the docket text.
               The docket text was changed to include the Partial Payment Order.
               Other:



         If you need further clarification or assistance, please contact     Johnetta Curry-Wms          at (313) 234-5172 .



                                                                    DAVID J. WEAVER, CLERK OF COURT


Dated: November 1, 2018                                             Johnetta M. Curry-Williams
                                                                    Deputy Clerk
